         Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 1 of 49




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 8
                                  UNITED STATES DISTRICT COURT
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                                NORTHERN DISTRICT OF CALIFORNIA
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     JASMINE SMITH and TAWNEYA HOUSER,                    Case No. 4:21-cv-09390-JST
12   individually and on behalf of all others similarly
     situated,
13                                                        FIRST AMENDED CLASS ACTION
                                           Plaintiffs,    COMPLAINT
14
            v.
15                                                        JURY TRIAL DEMANDED
     GLAXOSMITHKLINE, PLC and
16   GLAXOSMITHKLINE CONSUMER
     HEALTHCARE,
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18                                      Defendants.

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
         Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 2 of 49




 1          Plaintiffs Jasmine Smith and Tawneya Houser (“Plaintiffs”) bring this action on behalf of
 2   themselves, and all others similarly situated against GlaxoSmithKline, PLC and GlaxoSmithKline
 3   Consumer Healthcare (collectively, “Defendants”) for the manufacture, marketing, and sale of
 4   Abreva cold sore treatment cream as identified below. Plaintiffs makes the following allegations
 5   pursuant to the investigation of their counsel and based upon information and belief, except as to the
 6   allegations specifically pertaining to themselves, which are based on personal knowledge.
 7                                      NATURE OF THE ACTION
 8          1.      This is a Class Action against Defendants GlaxoSmithKline, PLC and
 9   GlaxoSmithKline Consumer Healthcare (collectively, “GSK” or “Defendants”) for the manufacture,
10   marketing, and sale of Abreva cold sore treatment cream (hereinafter the “Product”). Defendants
11   represent in their advertising and marketing that Abreva can heal a cold sore in 2 ½ days, but it does
12   not and cannot. Defendants further unqualifiedly represent that “[n]othing heals a cold sore faster,”
13   despite readily available alternatives that do purport to heal cold sores faster. Worse, Defendants
14   exceed the scope of its approval by the Food and Drug Administration (“FDA”), by making these
15   and other unsupported representations concerning the ability of Abreva to provide symptomatic and
16   anti-viral benefits. Thus, Defendants’ advertising is false and misleading, and the Product is
17   ineffective as advertised and unsuitable for its intended purpose.
18          2.      Plaintiffs bring their claims against Defendants individually and on behalf of a class
19   of all others similarly situated purchasers of the Product for (1) violation of California’s Unfair
20   Competition Law, Cal. Bus. & Prof. Code § 17200, et seq.; (2) violation of the Consumers Legal
21   Remedies Act, Cal. Civ. Code § 1750, et seq.; (3) violation of the Song-Beverly Consumer Warranty
22   Act, Cal. Civ. Code § 1792, et seq.; (4) violation of California’s False Advertising Law, Cal. Bus. &
23   Prof. Code § 17200, et seq.; (5) Breach of Express Warranty; (6) Breach of Implied Warranty of
24   Merchantability; (7) Fraudulent Misrepresentation; (8) Negligent Misrepresentation; (9) Fraud by
25   Omission; and (10) Unjust Enrichment.
26                                                PARTIES
27          3.      Plaintiff Jasmine Smith is, and at all times relevant to this action has been, a resident
28   Oakland, California. In or around February 2021, Plaintiff Smith purchased Abreva from a brick-


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                         1
         Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 3 of 49




 1   and-mortar CVS Pharmacy. In doing so, Plaintiff Smith relied upon Defendants’ advertising,
 2   packaging, labeling, and other promotional materials, including Defendant’s website and
 3   commercials as prepared and approved by Defendants and their agents and disseminated through
 4   advertising media containing the unlawful claims alleged herein. These specific representations are
 5   outlined in detail below. Specifically, Plaintiff Smith understood and appreciated from Defendants’
 6   packaging, website, and commercials that Abreva could heal her cold sores in 2 ½ days, that nothing
 7   could heal her cold sore faster, and that Abreva could provide symptomatic relief and anti-viral
 8   benefits, thereby reducing the pain, itching, burning, and tingling associated with cold sores. Plaintiff
 9   Smith also understood that Abreva could provide anti-viral benefits that would block the emergence
10   of cold sores and prevent the development of new cold sores by maintaining healthy skin cells. These
11   were Plaintiff Smith’s primary reasons for purchasing Abreva, and Plaintiff Smith has repeatedly
12   come into contact with these claims through Defendants’ aggressive, long-term advertising campaign
13   designed to convince consumers like her that Abreva could provide those benefits. Plaintiff Smith
14   understood Defendants’ claims to be representations and warranties that Abreva could provide her
15   desired results. And Plaintiff Smith relied on these representations and warranties in purchasing
16   Abreva. However, Plaintiff Smith received none of the benefits of her bargain as Abreva does not
17   and cannot heal cold sores in 2 ½ days, is not the fastest available remedy for healing cold sores, and
18   does not provide symptomatic and anti-viral relief. Plaintiff Smith’s cold sore did not heal during
19   the 2 ½ days as advertised, nor did it heal within the time period set out in Abreva’s disclaimers or
20   other clarifying language, which Plaintiff does not recall seeing prior to her purchase. Nonetheless,
21   Plaintiff Smith remains very much interested in purchasing Abreva in the future as she believes
22   Defendants are reputable companies that otherwise manufacture and produce over-the-counter
23   products that are high in quality. As a direct result of Defendants’ material misrepresentations and
24   omissions, Plaintiff Smith suffered, and continues to suffer, economic injuries.
25          4.      Plaintiff Tawneya Houser is a resident of Sandy, Oregon. In approximately the spring
26   of 2020, while a resident of California, Plaintiff Houser purchased Abreva from a brick-and-mortar
27   Safeway located in Hayward, California. In doing so, Plaintiff Houser relied upon Defendants’
28   advertising, packaging, labeling, and other promotional materials, including Defendants’ website and


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                          2
         Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 4 of 49




 1   commercials as prepared and approved by Defendants and their agents and disseminated through
 2   advertising media containing the unlawful claims alleged herein. These specific representations are
 3   outlined in detail below. Specifically, Plaintiff Houser understood and appreciated from Defendants’
 4   packaging, website, and commercials that Abreva could heal her cold sores in 2 ½ days, that nothing
 5   could heal her cold sore faster, and that Abreva could provide symptomatic relief and anti-viral
 6   benefits, thereby reducing the pain, itching, burning, and tingling associated with cold sores. Plaintiff
 7   Houser also understood that Abreva could provide anti-viral benefits that would block the emergence
 8   of cold sores and prevent the development of new cold sores by maintaining healthy skin cells. These
 9   were Plaintiff Houser’s primary reasons for purchasing Abreva, and Plaintiff Houser has repeatedly
10   come into contact with these claims through Defendants’ aggressive, long-term advertising campaign
11   designed to convince consumers like her that Abreva could provide those benefits. Plaintiff Houser
12   understood Defendants’ claims to be representations and warranties that Abreva could provide her
13   desired results. And Plaintiff Houser relied on these representations and warranties in purchasing
14   Abreva. However, Plaintiff Houser received none of the benefits of her bargain as Abreva does not
15   and cannot heal cold sores in 2 ½ days, is not the fastest available remedy for healing cold sores, and
16   does not provide symptomatic and anti-viral relief. Plaintiff Houser’s cold sore did not heal during
17   the 2 ½ days as advertised, nor did it heal within the time period set out in Abreva’s disclaimers or
18   other clarifying language, which Plaintiff does not recall seeing prior to her purchase. Nonetheless,
19   Plaintiff Houser remains very much interested in purchasing Abreva in the future as she believes
20   Defendants are reputable companies that otherwise manufacture and produce over-the-counter
21   products that are high in quality. As a direct result of Defendants’ material misrepresentations and
22   omissions, Plaintiff Houser suffered, and continues to suffer, economic injuries.
23          5.      Defendant GlaxoSmithKline, PLC is a Pennsylvania corporation headquartered in
24   Philadelphia, Pennsylvania.      GlaxoSmithKline, PLC is the parent company of Defendant
25   GlaxoSmithKline Consumer Healthcare, which manufactures, markets, and distributes Abreva
26   throughout the United States.
27          6.      Defendant GlaxoSmithKline Consumer Healthcare is a division of Defendant
28   GlaxoSmithKline, PLC, headquartered in Warren, New Jersey. The Consumer Healthcare division


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                          3
          Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 5 of 49




 1   comprises several major brands of over-the-counter drugs, including Abreva Cold Sore Cream.
 2   Defendant manufactures, markets, and distributes Abreva throughout the United States. Defendant
 3   sells the Product on its website directly to consumers and through third-party retailers such as CVS,
 4   Walgreens, Target, and Amazon.
 5                                      JURISDICTION AND VENUE
 6           7.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
 7   1332(d) because there are more than 100 class members and the aggregate amount in controversy
 8   exceeds $5,000,000.00, exclusive of interest, fees, and costs, and at least one Class member is a
 9   citizen of a state different from Defendants.
10           8.      This Court has personal jurisdiction over Defendants because Defendants conduct
11   substantial business within California such that Defendants have significant, continuous, and
12   pervasive contacts with the State of California.
13           9.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendants do
14   substantial business in this District and a substantial part of the events giving rise to Plaintiffs’ claims
15   took place within this District and Plaintiffs saw and heard Defendant’s advertisements in this
16   District.
17                                        FACTUAL ALLEGATIONS
18   I.      Overview Of Cold Sores And Over-The-Counter Treatments
19           10.     Cold sores, also known as fever blisters, are caused by the herpes simplex virus
20   (HSV). Herpes infection is extremely common—it is estimated that between 50% and 80% of adults
21   in the United States are carriers of either HSV-1 (oral herpes) or HSV-2 (genital herpes). Once
22   infected, the virus remains in the body permanently, periodically causing painful and unsightly
23   blisters (cold sores) to form, usually on the lips.
24           11.     According to the Mayo Clinic, cold sores typically last around two to four weeks
25   before healing on their own.1 Outbreaks can be triggered by a variety of factors such as stress,
26   fatigue, colds and fevers, or exposure to cold weather or sunlight. While common, cold sores are
27   1
      “Cold Sore,” Mayo Clinic, (June 17, 2020), https://www.mayoclinic.org/diseases-conditions/cold-
28   sore/diagnosis-treatment/drc-20371023 (last accessed November 30, 2021).


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                             4
         Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 6 of 49




 1   often “embarrassing and tough to hide[.]”2 Those with a cold sore outbreak may experience anxiety,
 2   stigma, shaming, and social isolation.3
 3          12.     Although there is no known cure for HSV, several prescriptions and over the counter
 4   (“OTC”) treatments exist, intended to relieve discomfort, shorten healing time, or reduce
 5   transmission of the virus. Collectively, US adults living with HSV develop over 100 million
 6   outbreaks annually, most of which are treated with OTC medications.
 7          13.     Abreva is one of those OTC medications and is the leading OTC cold medication.
 8   Abreva is topical cream containing 10% of the active ingredient docosanol, intended to make cold
 9   sores heal faster. This ingredient is currently the only ingredient approved by the FDA to shorten
10   healing time that is available without a prescription.
11          14.     Abreva was originally developed by Avanir Pharmaceuticals, which held clinical
12   trials of the active ingredient, docosanol, and received FDA approval for a limited set of claims in
13   2000. That year, Defendants licensed exclusive rights from Avanir and began selling Abreva
14   throughout the United States.
15          15.     Avanir’s approval of the ingredient, however, was not immediate due to concerns
16   with the underlying studies that Avanir used to support its New Drug Application. The authors of
17   the underlying studies reported that docosanol shortened the time to lesion healing and cessation of
18   pain in comparison with the control group. However, these studies were originally rejected by the
19   FDA in 1999 after first determining that the underlying studies “ha[ve] not revealed convincing
20   evidence for a consistent effect,” and then citing the need for additional trials.4
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23     Ian Roth, “Mayo Clinic Minute: 3 things you didn’t know about cold sores,” Mayo Clinic (Mar.
     21, 2018), https://newsnetwork.mayoclinic.org/discussion/mayo-clinic-minute-3-things-you-didnt-
24   know-about-cold-
     sores/#:~:text=Cold%20sores%20on%20the%20lips,you%20have%20a%20cold%20sore (last
25   accessed November 30, 2021).
     3
       See e.g., Hollie Richardson, “Cold sores: why we get them, how to treat them, and how to break
26   the stigma,” Stylist (May 2021), https://www.stylist.co.uk/beauty/skincare/cold-sores-treatments-
     symptoms-facts/522295 (last accessed November 30, 2021).
27   4
       S.L. Spruance, “N-docosanol (Abreva) for herpes labialis: problems and questions.” J. Am Acad.
28   Dermatol. 2002 3 ([letter]): 457-458. https://www.jaad.org/article/S0190-9622(02)70066-2/pdf.


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                     5
           Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 7 of 49




 1           16.    In rejecting Avanir’s New Drug Application, Robert J. DeLap, M.D., Ph.D., Director
 2   of the Office of Drug Evaluation for the FDA’s Center for Drug Evaluation and Research stated in a
 3   letter to Avanir that “[t]he effectiveness of [docosanol] 10% in the treatment of recurrent oral-facial
 4   herpes simplex has not been adequately established.” Dr. DeLap determined that there was no
 5   “significant[] differe[nce]” between the docosanol and the placebo.
 6           17.    Dr. DeLap’s conclusions were further bolstered by Medical Reviewer, Martin M.
 7   Okun’s, M.D., Ph.D, evaluation of Avanir’s studies. Dr. Okun determined that “there may have been
 8   significant technical flaws in the execution of [Avanir’s] study.” Dr. Okun further found that
 9   Avanir’s “concept of complete healing . . . differs from a layperson’s concept of complete healing,
10   which would be return of lesional skin to normal both in signs and symptoms.”
11           18.    Avanir appealed this decision and ultimately won approval for a limited set of claims.
12   Specifically, Dr. DeLap advised Avanir that “We have . . . concluded that adequate information has
13   been presented to demonstrate that the drug product is safe and effective for use as recommended in
14   the agreed upon labeling text” and warned Avanir that “[y]ou are cautioned not to promote the
15   product as an antiviral or as providing symptomatic relief of cold sores. Promotion of symptomatic
16   benefit should be limited to the information provided in labeling, that the product shortens healing
17   time and duration of symptoms.”
18           19.    However, as discussed below, Defendants have since overstepped the FDA’s
19   approval. That is, the FDA did not approve any of the claims that Plaintiff alleges are false or
20   misleading.
21   II.     Defendants’ False And Deceptive Advertising
22           20.    Despite these warnings, Defendants, through their aggressive long-term, decades
23   long, deceptive marketing campaign, including advertisements, Abreva Products’ packaging and
24   labeling, its website as well as commercials and bulletins on third-party websites such as Amazon,
25   amongst other mediums, has consistently and uniformly conveyed to consumers throughout the
26   United States that Abreva can reduce healing time to 2 ½ days, can prevent the virus causing cold
27   sores from developing, and can provide symptomatic relief, and that nothing heals a cold sore faster.
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        6
         Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 8 of 49




 1          21.     On the whole, Defendants’ campaign created a context for consumers who purchased
 2   the Product in store or online. That is, Defendants exploited the overlap between labeling and
 3   marketing and led consumers to believe that Abreva can heal cold sores in 2 ½ days, that it can
 4   prevent the virus causing cold sores from developing, that it can provide symptomatic relief, and that
 5   nothing heals a cold sore faster. As noted, numerous of these representations were featured in
 6   commercials and online bulletins separate and independent from the packaging and labeling.
 7          22.      As set out in the photograph below, which Plaintiffs saw, believed, and relied upon
 8   in making their purchases, Defendants prominently claim in large text that “YOU CAN GET RID
 9   OF YOUR COLD SORES IN 2 ½ DAYS.” Then at the extreme bottom edge of the photograph, and
10   not in close proximity to the challenged claims, Defendants set out a disclaimer. But those, like
11   Plaintiffs, viewing this photograph—which appears in a size substantially similar to the image set
12   out below—are not likely to see this inconspicuous disclaimer. A reasonable consumer viewing this
13   photograph would be led to believe that their cold sore can be healed in 2 ½ days if they purchased
14   Abreva.
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22          23.     As set out in the photograph below, which Plaintiffs saw, believed, and relied upon
23   in making their purchases, Defendant prominently claims that Abreva “CAN GET RID OF COLD
24   SORES IN JUST 2.5 DAYS.” Then at the extreme bottom edge of the photograph, and not in close
25   proximity to the challenged claims, Defendants set out a disclaimer in a color font similar in color to
26   the background on which it appears. But those like Plaintiffs viewing this photograph—which
27   appears in a size substantially similar to the image set out below—are not likely to see this
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        7
         Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 9 of 49




 1   inconspicuous disclaimer. Instead, reasonable consumers would understand that Abreva can heal
 2   cold sore in 2 ½ days.
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 9          24.     Defendants repeat these and other statements in the below bulletin, which Plaintiffs
10   saw, believed, and relied upon in making their purchases. In large font at the top of the bulletin,
11   Defendants ask “WHY ABREVA?” Defendants then lists several purported reasons for purchasing
12   in slightly smaller, but readable, font. These include “Can get rid of your cold sore in 2.5 days, when
13   used at the first sign,” “Starts to work immediately,” “Helps protect healthy skin cells,” and “Shortens
14   symptom durations.” Then at the extreme bottom of the bulletin in a font color similar to the
15   background, Defendants set out a disclaimer. But those, like Plaintiff, viewing this photograph—
16   which appears in a size substantially similar to the image set out below —are not likely to see this
17   inconspicuous disclaimer. Instead, reasonable consumers are led to believe that Abreva can heal
18   cold sores in 2 ½ days and provides symptomatic relief and anti-viral protection.
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27          25.     Defendants then repeat these and other statements in the below bulletin, which
28   Plaintiffs saw, believed, and relied upon in making her purchase. In large font at the top of the


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                         8
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 10 of 49




 1   bulletin, Defendants state that “ABREVA WORKS IN 3 KEY STAGES.” Defendants then list
 2   those stages in slightly smaller, but readable, font. Defendants claim that Abreva “Penetrates deep
 3   beneath the skin, to the source of the spreading virus.” Defendants claim that Abreva “Helps block
 4   the virus and helps protect healthy skin cells.” Defendants then claim that “Used at the first sign,
 5   can get rid of your cold sore in 2 ½ days.” Then at the bottom of the bulletin in a font color similar
 6   to the background, Defendants set out a disclaimer.         But those, like Plaintiff, viewing this
 7   photograph—which appears in a size substantially similar to the image set out below —are not likely
 8   to see this inconspicuous disclaimer. A reasonable consumer would be justified in their belief that
 9   Abreva provides symptomatic relief and anti-viral protection and that it can heal cold sores in 2 ½
10   days.
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19           26.    But Defendants’ statements concerning the duration of healing do not end there.
20   Instead, Defendants claim directly on the home page of their website that “Nothing heals a cold sore
21   faster,” which Plaintiffs saw, believed, and relied upon in making their purchases (emphasis in
22   original). Defendants include a so-called disclaimer at the extreme bottom left of the page, far out
23   of sight of the viewer and in tiny font which reads, “[m]edian healing time 4.1 days. 25% of users
24   healed within 2 ½ days.” But significantly, this disclaimer does not correspond with the challenged
25   assertion. In other words, that Abreva supposedly shortens healing time has nothing to do with the
26   other options available on the market.       Defendants’ disclaimer is, therefore, inapposite and
27   ineffective at remedying the deception, especially considering that there are other options available
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       9
         Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 11 of 49




 1   on the market that do purport to shorten healing time faster.5 Moreover, these claims appear directly
 2   on the first page of Defendants’ website and do not contain any other qualifying language.
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18          27.     Defendants then repeat these and other statements in the below graphic, which
19   Plaintiffs saw, believed, and relied upon prior to making their purchase. Defendants claim that
20   Abreva is “PROVEN TO HEAL COLD SORES & SHORTEN THE DURATION OF[.]”
21   Interestingly, Defendants set out “Pain,” “Itching,” “Burning,” and “Tingling” on their own, easily
22   catching the reasonable consumer’s eye, leading them to believe that Abreva provides symptomatic
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25     See, e.g. Luminance Red which purports to heal cold sores in as few as 2.2 days.
     https://luminancered.com/products/luminance-red-lip-treatment-
26   device?network=g&gclid=Cj0KCQiAtJeNBhCVARIsANJUJ2HIfrpjEW33UoB5gHMdotvWTBX
     NaRzdaL3tODmX5zu7nWaQtmIgiJUaAs_1EALw_wcB (last accessed November 30, 2021);
27   Marieh Honarmand, et al. “Comparing the effect of diode last against acyclovir cream for the
     treatment of herpes labialis,” J. Clin. Exp. Dent. 2017; 9(6): c729-32 (supporting the notion that
28   products such as Luminance Red can heal cold sores in as few as 2.2 days).


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                      10
           Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 12 of 49




 1   relief. Noticeably, there is no disclaimer other than the “when used at the first sign” language at the
 2   extreme bottom left of the graphic.
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11            28.   Defendants’ representations extend to commercials released by Defendants. In one
12   video, for example, which Plaintiffs saw, believed, and relied upon in making their purchases,
13   Defendants claim “Just because there isn’t a cure for cold sores, doesn’t mean you have to suffer
14   patiently until it clears up on its own.” (emphasis added). Defendants’ statement taken in context
15   would lead reasonable consumers, like Plaintiffs, to believe that Abreva will help ease suffering, by
16   reducing the pain associated with the cold sore. These words next to a photograph of a woman
17   holding her lip and wincing would further lead a reasonable consumer to believe that Abreva will
18   reduce their pain.
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        11
           Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 13 of 49




 1            29.    In another video, which Plaintiffs saw, believed, and relied upon in making their
 2   purchases, Defendants repeat their claims regarding healing time, noting that “When used at the first
 3   sign, you could knock out your cold sore in 2.5 days.” Then at the extreme bottom edge of the video,
 4   and not in close proximity to the challenged claims, Defendants set out a disclaimer. But those
 5   viewing this video are not likely to see this inconspicuous disclaimer. Instead, reasonable consumers
 6   are led to believe that Abreva can quickly heal areas affected by the cold sores and that it
 7   “BLOCK[S]” the virus.
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17            30.    Interestingly, Defendants’ 2 ½ day healing claims are entirely missing from their
18   Canadian website, replaced instead with the words “Works Faster.”6
19            31.    Yet, in the United States, Defendants up the ante, seeking to take advantage of the
20   stigma and embarrassment associated with cold sores. In one video, for example, which Plaintiffs
21   saw, believed, and relied upon in making their purchases, Defendants portray a young woman with
22   a large cold sore on her upper lip. On her cheeks the words “UPSET” and “ANXIOUS” are
23   prominently written. The woman appears to be embarrassed and pained by her cold sore.
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28       https://www.abreva.ca/


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                      12
           Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 14 of 49




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 9            The camera quickly pans to the same woman applying Abreva as the narrator states that “one
10   of the worst things about cold sores is how it can make you feel. But . . . Abreva can get you back
11   to being you in just 2.5 days.” Defendants then show the same woman refreshed with her cold sore
12   no longer present. In a faint font at the bottom of the screen, hardly noticeable in contrast to the
13   bolded words, Defendants set out their disclaimer. Defendants’ disclaimer is immaterial, however,
14   as the claims exceed the bounds of the FDA’s approval as the FDA did not approve Abreva for
15   purposes of improving mood or reducing anxiety.
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24            32.    Defendants then write on their packaging that it is the “ONLY FDA Approved
25   Medicine to Shorten Healing Time.”
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                     13
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 15 of 49




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10          33.     But these muted claims are amplified by the context of Defendants’ aggressive
11   decades long marketing and advertising campaign, which invoked claims that exceed the scope of
12   the FDA’s approval and which Plaintiffs encountered and relied upon in making her purchase.
13   Placed in context, this packaging leads consumers, like Plaintiffs, to believe that not only does
14   Abreva shorten healing time, but that they could reasonably expect their cold sores may heal in just
15   2 ½ days, that during that time they could experience symptomatic and anti-vital benefits, and that
16   nothing heals a cold sore faster.
17          34.     And, significantly, Defendant’s statements are deceptive despite the existence of an
18   asterisk or other clarifying language. That is, the asterisk qualifies Defendants’ statement—“Abreva
19   can heal cold sores in just 2.5 days”—with such statements as “[w]hen used at the first sign” and
20   “[m]edian healing time 4.1 days . . .” But these qualifications are immaterial. Plaintiffs’ contention
21   is that Abreva cannot reliably heal cold sores in 2.5 days, period. Said differently, the asterisk does
22   not render Defendants’ statements any less deceptive because Plaintiffs’ contention is that Abreva
23   cannot reliably heal cold sores in 2.5 days for anyone, regardless of how it is used. And, as
24   demonstrated in the next section, scientific studies confirm Plaintiffs’ position.
25          35.     All told, based on the current and former representations contained on Defendants’
26   and third-party websites, commercials, and Abreva’s packaging, it is clear that Defendants intended
27   to induce a common belief in consumers that Abreva could shorten the healing time to 2 ½ days; that
28   it could provide symptomatic and anti-viral benefits for those who use the Product; and that no other


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        14
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 16 of 49




 1   option on the market could heal cold sores as fast. In marketing Abreva in this manner, Defendants
 2   exceeded the scope of the FDA’s approval to claims that the FDA specifically instructed Defendants
 3   not to make and which were not otherwise approved, to further its over-the-counter market share of
 4   topical cold sore treatment.
 5
     III.   Scientific And Medical Studies Confirm That Abreva And Its Main Ingredient
 6          Docosanol Are Not Effective

 7          36.     As noted, Defendants’ representations are prominently displayed in their aggressive

 8   and deceptive long-term and multi-medium advertising of Abreva, leading reasonable consumers to

 9   believe that if the Product is used in accordance with the instructions that their cold sores could heal

10   in as few as 2 ½ days and that it could provide symptomatic and anti-viral benefits.

11          37.     However, these representations are false. As Defendants’ own research shows,

12   Abreva cannot heal a cold sore in 2 ½ days. Any improvement in healing time is much less

13   significant than this, and for many users, the Product actually worsens symptoms without improving

14   healing time whatsoever. Significantly, Defendants’ research has been both undermined and refuted

15   again and again. Said simply, Abreva does not work as advertised by Defendant.

16          38.     As a result of Defendants’ false representations, consumers who reasonably rely on

17   these representations are charged an exorbitant price relative to other over-the-counter remedies.

18                  A.      Avanir’s Studies Confirm That Abreva Is Not Effective

19          39.     In July 2000, the FDA approved Abreva as an OTC treatment for recurrent oro-facial

20   herpes simplex episodes (cold sores). Approval was based on data from two clinical trials that Avanir

21   conducted from 1996 to 1997.

22          40.     These trials designated “06” and “07,” compared a 10% docosanol cream to a

23   polyethylene glycol (“PEG”) placebo. Study 06 found a statistically significant shorter healing time

24   with docosanol than with the placebo, but study 07 did not. In Avanir’s earlier clinical trials using a

25   different placebo (stearic acid), docosanol failed to show any therapeutic advantage over the placebo.

26          41.     Rather than invest in additional research, Avanir combined the data from studies 06

27   and 07 and analyzed them collectively as a single “06/07” study.

28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                         15
           Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 17 of 49




 1            42.   As part of the FDA approval process, the Center for Drug Evaluation and Research
 2   (CDER) conducted a medical review of the clinical trials. Several of the reviewers’ comments note
 3   flaws in the study design which undermine the basis for Defendants’ claims about healing time.
 4            43.    First, the data on healing times depended on patients’ self-reporting of facts that a
 5   layperson might not be able to judge as accurately as a medical professional:
 6                  The primary efficacy variable, time to healing, was measured by
                    subtracting the time and date at which study cream was first applied
 7                  (as determined by patient) from the time and date at which herpetic
                    lesion [fully healed] (as assessed by patient) … There was no
 8                  assessment performed in this study to confirm that patients were able
                    to identify properly when episodes began, the stage of their episode
 9                  when treatment was started, and when episodes healed. Hence, it is
                    difficult to assess whether the reported results … are reliable.
10
              44.   Second, the studies included “aborted episodes”—outbreaks in which the early
11
     symptoms “resolve[] without ever progressing to the vesicular stage” (i.e. the formation of a blister).
12
     These episodes were, by definition, much shorter than “classical episodes” (which progress through
13
     several stages of blister formation and healing). Including both aborted and classical episodes in the
14
     data skewed the average healing time, making it seem shorter than it really was.
15
              45.   Third, the studies separated early and late treatment results on the theory that early
16
     treatment is essential for docosanol to be effective. But what appeared to be improved healing times
17
     for the early treatments simply reflected the fact that a certain proportion of aborted episodes would
18
     never have developed into “classical” lesions. When treatment started after a blister had already
19
     formed, docosanol showed no statistically significant advantage over the placebo. In other words,
20
     by the time that what most people think of as the “cold sore” had appeared, it was already too late.
21
     Thus, for the Product to have any beneficial effect, it must be applied at such an early stage that it is
22
     impossible to determine what difference it made.
23
              46.   Because of this logical flaw in the early treatment hypothesis, as well as the gap
24
     between medical and layperson’s understandings of what constitutes the “first sign of a cold sore,”
25
     the inconspicuous disclaimer that Defendants use with the 2.5 days claim is ineffective.
26
     ///
27
     ///
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                          16
           Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 18 of 49




 1            47.   Defendants then licensed Abreva from Avanir, adopting their statements about the
 2   clinical trial results, and has continued to base its misleading advertising claims on Avanir’s flawed
 3   studies.
 4                  B.      Scientific And Medical Studies Refute Defendants’ Claims
 5            48.   But Defendants’ deception has not gone unnoticed by members of the medical and
 6   scientific communities. One such researcher, Dr. S.L. Spruance, published an article in the Journal
 7   of the American Academy of Dermatology.7 Dr. Spruance determined that there were several issues
 8   with the study that Defendants have since used to support their claims. First, Dr. Spruance found
 9   that “the uses of a substance other than the drug vehicle as a control represents a major departure
10   from accepted practices and introduced doubt concerning the stated outcomes of the study.”
11   (emphasis added). Threading the needle, Dr. Spruance wrote that “[t]he usual comparison in topical
12   drug studies, drug versus drug vehicle, ensures that any effect on the disease will occur equally in
13   the treatment groups and that any differences between the treatment groups can be attributed to the
14   test drug.” This was not the case in the Abreva trials, introducing other explanations for the outcome
15   of the studies than that posited by Avanir.
16            49.   Second, the studies, to their detriment, employed polyethylene glycol (“PEG”) in the
17   control group. According to Dr. Spruance, “[t]here are at least 2 theoretical ways that the use of PEG
18   as a control could influence the relative rates of wound healing and create an appearance of efficacy,
19   erroneously in the n-docosanol treatment arm.” Dr. Spruance noted that firstly “PEG is hygroscopic
20   (absorbs water) and may dehydrate the skin. The state of dehydration of the skin is well known to
21   influence the rate of wound healing,” thereby skewing Avanir’s results. Dr. Spruance then secondly
22   stated that “because the protocol called for continuous use of the study medication until lesion
23   healing, it is possible that the n-docosanol aqueous cream vehicle had a greater ability than PEG to
24   dissolve or loosen the lesion crust, a healing end point, resulting in the appearance of accelerated
25   healing for the n-docosanol treatment arm.” The appearance of healing, but not actual healing.
26   ///
27   7
      S.L. Spruance., “N-docosanol (Abreva) for herpes labialis: problems and questions.” J. Am
28   Acad. Dermatol. 2002 3: 457-458. https://www.jaad.org/article/S0190-9622(02)70066-2/pdf.


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       17
         Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 19 of 49




 1          50.       Another researcher Paul Pham published his research on docosanol in the medical
 2   journal, Infection Diseases in Clinic Practice.8 His study led him to conclude that “[t]opical
 3   docosanol improved healing time by approximately 1 day if applied during the prodromal stage,”
 4   meaning “the period after incubation and before the characteristic symptoms of infection occur.”9
 5   This determination drastically undermines Defendant’s claims concerning the length of healing time.
 6   If the usual healing time for an untreated cold sore is ten days, then one day does not lead to the 2 ½
 7   total claim posited by Defendant. Instead, Abreva may require 9 days to heal the area affected by
 8   the cold sore.
 9          51.       Another researcher, Eric M. Morrel published his research in the Clinical Infectious
10   Diseases journal hosted by Oxford University Press.10 He determined that “[t]he topical treatments
11   [including Abreva] demonstrated limited efficacy and required multiple applications over several
12   days[.]” This further refutes Defendant’s claims that Abreva can heal a cold sore in just 2 ½ days.
13          52.       Perhaps the most comprehensive review of docosanol as a topical treatment for cold
14   sores was conducted by Kimberly D.P. Hammer, Jessica Dietz, Tze Shien Lo, and Erika M. Johnson
15   and published in the European Medical Journal of Dermatology.11 Those researchers reviewing
16   1,485 scientific and medical papers concerning the efficacy of docosanol determined that the
17   “efficacy compared to placebo is marginal at best.” This directly refutes Defendants’ claims.
18          53.       And in his research published in the Archives of Dermatology, Mark B. McKeough,
19   refuted Defendant’s anti-viral claims, concluding that “despite reports of n-docosanol antiviral
20
21   8
       Paul Pham, “Docosanol (Abreva).” Infectious Diseases in Clinical Practice: June 2001, Vol. 10,
     Iss. 5, p.283,
22   https://journals.lww.com/infectdis/Fulltext/2001/06000/Docosanol__Abreva__.18.aspx.
     9
23     https://www.medicalnewstoday.com/articles/5-stages-of-infection#incubation
     10
        Eric M. Morrel, et al. “Topical Iontophoretic Administration of Acyclovir for the Episodic
24   Treatment of Herpes Labialis: A Randomized, Double-Blind, Placebo-Controlled, Clinic-Initiated
     Trial.” Clinical Infectious Diseases, vol. 43, no. 4, Oxford University Press, 2006, pp. 460–67,
25   http://www.jstor.org/stable/4463841.
     11
26      Kimberly D.P. Hammer, Jessica Dietz, Tze Shien Lo, Erika M. Johnson, “A Systematic Review
     on the Efficacy of Topical Acyclovir, Penciclovir, and Docosanol for the Treatment of Herpes
27   Simplex Labialis,” EMJ Dermatol, Vol. 6, Iss. 1, p.118-123, https://emj.emg-health.com/wp-
     content/uploads/sites/2/2018/10/A-Systematic-Review-on-the-Efficacy-of-Topical-Acyclovir-
28   Penciclovir-and-Docosanol-for-the-Treatment-of-Herpes....pdf.


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        18
          Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 20 of 49




 1   activity in vitro, we found that both n-docosanol and stearic acid were inactive as antiviral agents
 2   against experimental cutaneous HSV lesions.”12 This further refutes Defendants’ claims.
 3   IV.     Consumers Experience With Abreva Further Demonstrates That It Is Ineffective
 4           54.     The internet is replete with complaints from consumers who have expressed
 5   dissatisfaction about the Product’s ineffectiveness on Abreva’s own website and numerous review
 6   pages on major e-commerce sites.
 7           55.     For example, Abreva.com includes a reviews page with over a thousand reviews
 8   dating back approximately nine years. In early 2021, for example, one user wrote on Abreva.com
 9   the following: “On the commercial it says gone in 2 days. The website says 2.5 days. My cold sore
10   took longer than that to go away.”13
11           56.     In 2019, another user wrote on Abreva.com the following: “I've been using this 3+
12   times a day for 11 days now and just when I thought it was finally gone, it has gotten worse. This
13   product isn't helping like it claims it does.”
14           57.     In 2019, another user wrote on Abreva.com the following: “This product is very
15   expensive and does not work at all. You all should be ashamed.”
16           58.     In 2019, another user wrote on Abreva.com the following: “This product does
17   absolutely nothing for me. I think it prolongs my healing time by making the area overly dry and
18   crusty. I've tried the product several times and this will be my last.”
19           59.     In 2019, another user wrote on Abreva.com the following: “This product does not
20   work. I applied it right away as soon as I felt a tingle. I rubbed it in. I had no makeup on. I applied
21   it several times throughout the day. By the next day I had the largest cold sore I have ever had. I
22   keep on applying this product to no avail. Exorbitant price for no results.”
23

24
25
     12
        Mark B. McKeough. “Comparison of New Topical Treatments for Herpes Labialis.” Archives of
26   Dermatology, vol. 137, 2001, pp. 1153-1158,
     https://jamanetwork.com/journals/jamadermatology/article-abstract/478500.
27   13
        For purposes of readability, this and each of the following user reviews have been revised for
28   spelling and grammar.


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        19
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 21 of 49




 1          60.     In 2019, another user wrote on Abreva.com the following: “I applied Abreva at the
 2   first sign of a cold sore. Within 2 days it doubled in size. After reading other reviews with similar
 3   results, I threw my tube away. Never again.”
 4          61.     In 2019, another user wrote on Abreva.com the following: “I rushed to the store to
 5   get this cream as soon as I felt a cold sore coming. After going to sleep the same night I woke up
 6   with my lip swollen and my cold sore has gotten bigger and worse. Whatever you do DO NOT BUY
 7   THIS PRODUCT.”
 8          62.     In 2019, another user wrote on Abreva.com the following: “Total waste of money.
 9   Had no effect at all. Took 10 days to heal.”
10          63.     In 2019, another user wrote on Abreva.com the following: “Hadn't had a cold sore in
11   several years, so when I felt ‘the tingle’ I went to pharmacy to get my usual OTC product. Saw some
12   outrageously priced alternatives (Abreva), as well as homeopathic treatments. Figured anything that
13   costs as much as Abreva must be a superior product and work as claimed. Meh. In day 6-7, still
14   have the aftereffects from the cold sore (plus scab on lip, which is a first), and not impressed. Had
15   blistering for 4 days, which eventually subsided, much longer than what I had experienced in past
16   (about 3 days total max). Abreva […] didn't appear to shorten the duration of the cold sore I got.”
17          64.     In 2018, another user wrote on Abreva.com the following: “Seems like it just grows.
18   Now spreading to my chin. Really frustrating.”
19          65.     In 2018, another user wrote on Abreva.com the following: “Abreva has never helped
20   my cold sores, only worsened them.”
21          66.     In 2018, another user wrote on Abreva.com the following: “I purchased this two
22   separate times and I thought I would get results. I haven't gotten any relief at all. My cold sores
23   actually got larger.”
24          67.     In 2018, another user wrote on Abreva.com the following: “Didn't work at all. The
25   cold sore duration lasted its usual time frame of 7-10 days.”
26          68.     In 2018, another user wrote on Abreva.com the following: “Time after time I have
27   purchased Abreva and it has not worked for me.”
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                      20
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 22 of 49




 1           69.    In 2018, another user wrote on Abreva.com the following: “This made my breakout,
 2   the worst breakout I've ever had! It swelled up so bad and it was disgusting. Will never use again.”
 3           70.    In 2018, another user wrote on Abreva.com the following: “As the product states,
 4   once you see a cold sore coming on, apply Abreva and it lessens the time of the cold sore. Well, I
 5   did so, and it got larger! This product is way to expensive, and for the price you would think it works!
 6   I won't be buying this product again!”
 7           71.    In 2018, another user wrote on Abreva.com the following: “Applied as directed. No
 8   improvement at all. Very disappointed. If only a product worked as it claims.”
 9           72.    In 2018, another user wrote on Abreva.com the following: “I have had possibly 6 cold
10   sores in my life, and last year when I had one I bought your Abreva product because your ads were
11   convincing about healing in several days. Well, it took 10 days for your product to ‘heal’ my cold
12   sore. Never again will I buy this product because it is so expensive for that tiny tube and it took 10
13   days to do its job, not the several days that you espouse. Goodbye Abreva.”
14           73.    In 2018, another user wrote on Abreva.com the following: “I used it as soon as
15   symptoms occurred and it just made it worse. I thought maybe it was going to get really bad before
16   it got good, but no. I kept using it for four days and it just made it larger and made another one on
17   top of the original one. I wouldn't recommend this to anyone, it absolutely sucks.”
18           74.    In 2018, another user wrote on Abreva.com the following: “I tried this medicine at
19   every possible stage and it never worked. At the very first sign I would cake it on and honestly I
20   think it made it worse. The cream softened the skin allowing the cold sore to cause more damage to
21   the tissue.”
22           75.    In 2018, another user wrote on Abreva.com the following: “This product didn't work
23   for me, nor for several people I know. I used it on two separate outbreaks two years apart and it
24   didn't work either time. The biggest problem is that it's over priced—absurdly expensive, as if it's
25   guaranteed effective. It really is not and I'm sure the company knows this. I'm sure there are millions
26   of people who have wasted their money on this product and if they all reviewed it, I guarantee it
27   wouldn't be on the market.”
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                         21
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 23 of 49




 1          76.       In 2018, another user wrote on Abreva.com the following: “The question of your
 2   product being effective is iffy at best. It says to apply for ten days. If you put nothing on a cold sore,
 3   it would be gone in ten days anyway.”
 4          77.       In 2018, another user wrote on Abreva.com the following: “If I could give zero stars
 5   I would! My cold sore was tiny and this stuff made it huge and oozing within hours! It's so swollen
 6   and sore I can't believe it! I'm so upset and will never use this again. It should be taken off the
 7   market!”
 8          78.       In 2018, another user wrote on Abreva.com the following: “Zero stars; it gave me a
 9   headache and didn't do anything. I think it does more harm than good. I didn't see that cold sore got
10   healed quicker at all. I never have headaches, but this medication gave me horrible headache and
11   fatigue.”
12          79.       In 2018, another user wrote on Abreva.com the following: “I wish I could give this
13   product no stars. I felt a slight tingling on the top of my lip which I assumed would be an outbreak;
14   I immediately went and purchased Abreva and applied it to the site. They say that if you apply it at
15   the first sign, that it will heal your cold sore in as little as 2.5 days. Well. Now my lips are very
16   swollen and what had appeared to be a small red bump is now a bunch of little clusters all over my
17   top lips. This went from a mild little cold sore to a huge outbreak all over my top lip! I work in
18   sales, and Abreva has literally ruined my life, because I now look grotesque. Please stay away from
19   this product!”
20          80.       In 2018, another user wrote on Abreva.com the following: “The product is
21   misleading. What was once 1 blister became 3 on the corners of my lips. I've been dealing with this
22   problem for most of my life and this has never happened before.”
23          81.       In 2018, another user wrote on Abreva.com the following: “I got Abreva in the early
24   tingling stage and it didn’t do anything for me. I thought if I kept applying it, it would help ease the
25   discomfort, but instead of it helping it's making it worse. I'm on tube number two and it's been a
26   waste of money.”
27
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                           22
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 24 of 49




 1           82.     In 2018, another user wrote on Abreva.com the following: “Abreva didn't work. I've
 2   been using it a week now, and it's only made it bigger and not better. The blisters won't go away.
 3   It's not even looking any better.”
 4           83.     In 2018, another user wrote on Abreva.com the following: “I used the product when
 5   I started having the symptoms of a cold sore. It only made it worse. Taking much longer to heal
 6   than it normally would. No, it is not worth the money!”
 7           84.     In 2018, another user wrote on Abreva.com the following: “I got Abreva when I first
 8   began to get the symptoms of a cold sore. I applied it and followed the instructions THOROUGHLY.
 9   However, when I woke up the next day my blister was HUGE. My whole lip was swollen, and it
10   began to spread even more. I started off with ONE small cold sore and ended up with half my bottom
11   lip filled with them! If I could post pictures I would because it was DISGUSTING. My cold sores
12   took so much longer than normal to heal, and the pain was intolerable. I will NEVER use this product
13   again; I'd rather let the cold sore pass itself.”
14           85.     Similarly, over 400 users have posted reviews for Abreva on Drugs.com. There,
15   Abreva has an average rating of only 4.5 out of 10, with 48% of users giving a 1 out of 10 rating.
16   More than half (56%) of users reported a negative effect.
17           86.     For example, on March 1, 2016, one user wrote on Drugs.com the following: “In the
18   beginning when I felt the symptoms of herpes on my lip I went to a pharmacy, which offered Abreva.
19   I was using as per instructions—five times per day. Seven days later my lip looked as bad as on the
20   third day. When I finished the first tube of Abreva, I went to another pharmacy and they again
21   offered the same Abreva. It's totally marketing and I am sure pharmacists are getting paid by selling
22   this particular lip cream. It does nothing! It's expensive regular moisturizing cream!”
23           87.     On September 2, 2016, another user wrote on Drugs.com the following: “Didn't really
24   speed healing. I'm on day 5 and it's scabbing; thinking it will be here until day 8-10. It didn't really
25   help speed up healing, and I used it before the blisters appeared, when my lips felt tight in one spot.”
26           88.     On September 29, 2016, another user wrote on Drugs.com the following: “It’s just a
27   placebo just meant to slightly reduce the discomfort associated with a herpes outbreak. Has no effect
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                         23
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 25 of 49




 1   whatsoever on the root cause, which is the virus itself, and therefore it does not shorten the course of
 2   the outbreak as other more effective over-the-counter medicines do.”
 3          89.     On December 19, 2016, another user wrote on Drugs.com the following: “This was a
 4   waste of my $20. I felt the tingle and rushed to the store. I was using the medicine religiously. The
 5   cold sore only got worse. The swelling and the pain were almost unbearable. This is about day 5
 6   and I have a horrible looking scab on my lip. I don't want to go outside. It's so embarrassing.”
 7          90.     On February 16, 2017, another user wrote on Drugs.com the following: “I woke up
 8   in the morning with redness at the site and a very slight bump that I could tell would soon form into
 9   a blister. I immediately applied Abreva to the site as instructed and continued re-applying every 40
10   minutes or so. Within 3 hours the cold sore erupted into a full-blown multi-blister sore. I will throw
11   away whatever i have bought and will never use Abreva again. It literally made it 100 times worse.”
12          91.     On April 2, 2017, another user wrote on Drugs.com the following: “Right before bed
13   I felt the tingle and saw the tiny hint of a cold sore. Not new to this, and knowing I couldn't get
14   prescription meds until the next day, I sent my husband to the store to get Abreva. I applied it that
15   night and in the morning, and again mid-morning. I went to the doctor in the afternoon to get a
16   prescription medication. Before I got home from the pharmacy, I had a HUGE cold sore. I took the
17   meds and continued the Abreva. The cold sore continued to grow in size and is hideous. I'll never
18   use Abreva ever again.”
19          92.     On April 20, 2017, another user wrote on Drugs.com the following: “Made my
20   blisters worse and didn't relieve my pain. It's too expensive to not work. Will never buy again.”
21          93.     On May 23, 2017, another user wrote on Drugs.com the following: “Felt a little numb
22   on the top of my lip, so I ran to put some Abreva on it. I used it for about a day and a half as directed
23   (5x daily) with quite a healthy amount each time. I realized after the day and a half that anywhere I
24   put the Abreva, the cold sore had spread to and was now blistering. It did the exact opposite of what
25   it said it was supposed to do. Will never use again.”
26          94.     On January 30, 2018, another user wrote on Drugs.com the following: “I've gotten
27   cold sores a few times in the past, but the one and only time I used Abreva to treat one, I found it did
28   absolutely nothing. It did not stop it from growing, it did not stop it from scabbing over and all in


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                          24
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 26 of 49




 1   all the cold sore still took over a week to go away as they generally do without treatment. Abreva
 2   was a complete waste of money in my opinion as it made no difference in how a cold sore would
 3   naturally progress and heal from my experience.”
 4          95.     On November 30, 2018, another user wrote on Drugs.com the following: “Abreva
 5   doesn't work, and I'm convinced that all these comments saying it does are fake. I've used it as
 6   directed on two different occasions now, and the blister forms anyway and ends up huge. This is an
 7   absolute waste of $20 for a teeny little tube that does nothing at all. Never buying this again.”
 8          96.     On January 16, 2019, another user wrote on Drugs.com the following: “This medicine
 9   does not work. I used it for the first time and I have never had a bigger cold sore. My lips are so
10   swollen, it is terrible. What a waste of money. False advertisement for sure.”
11          97.     On April 19, 2019, another user wrote on Drugs.com the following: “I have been
12   getting severe cold sores since I was 6 years old. I was so excited the first time I bought this product,
13   even thought it was 5 times as expensive as Blistex and Carmex. I used it faithfully. By the next
14   morning my lip was extremely swollen. Three sores formed and I continued to use it 5-10 times per
15   day. No luck, they lasted 10 days with the same severity. I have now used this product for two years
16   hoping it will be different the next time. It never is. Unfortunately, I am not sure what tests were
17   performed to allow the FDA approval and claim that it heals faster. I will go back to just using
18   Carmex and planning for 10 days of pain and embarrassment.”
19          98.     On June 21, 2019, another user wrote on Drugs.com the following: “I just joined the
20   pool of unfortunate souls who fell victim to this harmful product. It's overpriced, the applicator isn't
21   user friendly, and yes, it made the cold sore way worse than it's ever been before. I usually get these
22   sores right after having the flu. Sometimes, they're barely visible. This time, I had one tiny little
23   spot in the center of my lip. I applied the product generously to the entire area. The entire bottom
24   lip blew up within a few hours. There needs to be class action lawsuit and a recall of this horrible
25   product.”
26          99.     On July 14, 2019, another user wrote on Drugs.com the following: “Completely
27   escalated my symptoms. I cannot believe this is happening! Stay away from this product!”
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                          25
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 27 of 49




 1          100.      On August 2, 2019, another user wrote on Drugs.com the following: “I used Abreva
 2   at the first signs of cold sore, which I get infrequently. Two days later the site was clearing up and I
 3   thought I was good, until several more fluid filled blisters erupted! That never happens to me. Very
 4   disappointed!”
 5          101.      On August 24, 2019, another user wrote on Drugs.com the following: “Don’t waste
 6   your money! I applied the product Abreva correctly only for it to make more cold sores appear.”
 7          102.      On October 7, 2019, another user wrote on Drugs.com the following: “This is my
 8   second time using Abreva. The first time was not good, but I thought it was due to not catching the
 9   first sign of my cold sore. So now I had the first sign of a cold sore and decided to really see if this
10   product works. I used Abreva and the next day my lip had more bumps and was more swollen. Just
11   awful experience.”
12          103.      On March 8, 2020, another user wrote on Drugs.com the following: “I started using
13   the very first day I felt that tingle and within 4 days I had another blister, and then just as the first
14   one was starting to clear up, along came a third. It’s been 7 days since I started using this product
15   and I now have 3 blisters that don’t look like they’re going anywhere soon. I’m so disappointed.”
16          104.      On March 10, 2020, another user wrote on Drugs.com the following: “Every few
17   years I seem to forget why I quit buying Abreva. Normally my cold sores last 3-4 days and don't get
18   very big. But EVERY SINGLE TIME I give Abreva a try, 1 small bump turns into 5 or 6 huge
19   blisters so bad I can barely talk. Literally have only had that happen when using Abreva. I don't
20   know why I keep going back to it. It's horrible.”
21          105.      Similarly, many users have posted negative reviews of Abreva on WebMD. For
22   example, on February 26, 2010, one user wrote on WebMD.com the following: “I had my cold sore
23   for about a day and saw the commercial for Abreva so I went to go buy it. I thought since it was
24   expensive it would work the best. WRONG! It made my cold sore more visible! Plus it took way
25   longer to heal. Not worth spending your money on it. The commercial lies! (What a shocker...) The
26   girl on the commercial already had the cold sore and it was ‘magically’ healed with Abreva. Ha!”
27          106.      On March 17,, 2011, another user wrote on WebMD.com the following: “Complete
28   waste of money! I started using this as soon as I felt the signs of a cold sore (redness, itching) and it


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                          26
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 28 of 49




 1   didn't help at all! While I didn't suffer the allergic reactions that many users seem to experience, this
 2   did nothing to shorten the healing time. Some nerve to charge $20 for something so ineffective!”
 3           107.    On February 19, 2012, another user wrote on WebMD.com the following: “The
 4   pharmacist recommended using Abreva as soon as I noticed the first signs of a cold sore. I was told
 5   that this medication is very good and works quickly. Seven days later it is no better and has not yet
 6   healed. No beneficial results for an expensive drug. Don't waste your money.”
 7           108.    On September 21, 2012, another user wrote on WebMD.com the following: “if you
 8   actually read the studies you realize that this product is generally not worth purchasing. The reason:
 9   According to their own research, this product heals a cold sore ONLY six hours faster than NOT
10   using it. It is bunk.”
11           109.    On December 18, 2012, another user wrote on WebMD.com the following: “I get
12   small lip cold sores 3-4 times per year. Abreva was suggested by the local pharmacist. I tried it at
13   the first sign of my next outbreak, but it had little or no affect. In fact, I applied it 5 times per
14   instructions, on a single spot, but the next morning I had 5 more spots around the original outbreak.
15   My outbreaks are usually small, but this time I had multiple outbreaks. Did the Abreva promote the
16   spreading? Who knows. I continued to use it. Healing still took 2 weeks. Waste of $20 in my
17   opinion.”
18           110.    On May 13, 2014, another user wrote on WebMD.com the following: “I asked my
19   husband to pick up some cold sore medicine because I felt a cold sore coming on and I did not want
20   it to become a full-blown blister. It was very important as I had customer interviews for three hours
21   each of two days the weekend coming up. Well, the CVS pharmacy person told him that Abreva
22   would be the product to buy. He purchased it and brought it home. Against my better judgement I
23   used the product as I had heard reviews and really didn't have time to go to the store. The next day
24   my cold sore was a full-blown blister and after using it throughout the day I developed two blisters
25   instead of one which has never happened. I am very disappointed in your product and will never
26   make a mistake of using it again. On top of wasting money on it, I had to be out in public looking
27   not my best because of the severity of the outbreak this product produced. I am still using it just to
28   keep my lip from drying out and bleeding. Disappointed and really upset about having a product


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                          27
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 29 of 49




 1   which the pharmacy industry is pushing off to customers as a good product, in fact they are telling
 2   customers it is the best product for cold sores. I know this product is not the best and I can now
 3   prove it.”
 4          111.    On August 11, 2016, another user wrote on WebMD.com the following: “It does not
 5   work for me. The time frame for the cold sore to heal is the same, with or without the medication.
 6   And the cost was $34.00, for nothing, nothing!”
 7          112.    On November 16, 2016, another user wrote on WebMD.com the following: “I have
 8   twice tried Abreva and neither time has it worked at all for me. Pretty expensive for a tiny tube. I
 9   will definitely remember next time not to bother.”
10          113.    On January 4, 2018, another user wrote on WebMD.com the following: “I get cold
11   sore once every two-three years always resulting to Abreva. My cold sore last from 12-14 days while
12   using this medication as directed. I would say this medication is absolutely not worth the high dollars
13   it costs as opposed to the other OTC medications used to treat cold sores.”
14          114.    On March 26, 2019, another user wrote on WebMD.com the following: “It has taken
15   me three tries to realise that Abreva is an expensive waste of money for me. It makes no difference
16   to my symptoms even though I start using it as soon as I realise I am getting cold sores. Next time,
17   I will try something else.”
18          115.    On January 28, 2020, another user wrote on WebMD.com the following: “It boggles
19   me how Abreva can get away with advertising their topical cream can cure a cold sore in 2.5 days if
20   applied at the first sign of it. I've been using Abreva for years in the hope that it may be reducing
21   the length of time I have a cold sore -- a costly endeavor considering the exorbitant price of Abreva.
22   I've never had it stop a cold sore and it's never prevented one from lasting less than 7 days. Honestly,
23   you'd think by how some genius would have come up with an effective treatment and run off with
24   millions of dollars.”
25          116.    These examples are only a small selection of the reviews that have been posted on a
26   variety of online forums for many years, showing that thousands of purchasers have been dissatisfied
27   with Abreva.
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                         28
           Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 30 of 49




 1   V.        Other Sources Of Defendants’ Knowledge
 2             117.   Online reputation management (commonly called “ORM” for short) is now a standard
 3   business practice among most major companies and entails monitoring consumer forums, social
 4   media, and other sources on the internet where consumers can review or comment on consumer
 5   services. “Specifically, [online] reputation management involves the monitoring of the reputation
 6   of an individual or a brand on the internet, addressing content which is potentially damaging to it,
 7   and using customer feedback to try to solve problems before the damage to the individuals or brand’s
 8   reputation.”14 Many companies offer ORM consulting services for businesses.
 9             118.   Like most companies, GSK presumably cares about its reputation and regularly
10   monitors online consumer reviews because they provide valuable data regarding quality control
11   issues, customer satisfaction, and marking analytics. Reviews like those copied above would be
12   particularly attention-grabbing for GSK’s management because extreme reviews are sometimes the
13   result of extreme problems and – just like any other company – GSK is presumably sensitive to the
14   reputational impact of negative online reviews. Hence, GSK’s management knew or should have
15   known about the above-reference consumer complaints shortly after each complaint was posted
16   online.
17   VI.       The Impact of Defendants’ Wrongful Conduct
18             119.   Despite clinical studies demonstrating the inefficacy of Abreva and its main
19   ingredient, docosanol, Defendants have conveyed and continue to convey one uniform message:
20   Abreva can shorten healing time to 2 ½ days and lead to symptomatic and anti-viral benefits and that
21   nothing heals a cold sore faster.
22             120.   As the manufacturer and distributor of Abreva, Defendants possess specialized
23   knowledge regarding Abreva’s contents and the effects of their ingredients, and Defendants are in a
24   superior position to know whether Abreva works as advertised.
25             121.   Specifically, Defendants knew, but failed to disclose, or should have known, that
26   Abreva cannot provide the relief it is advertised as providing and that well-conducted, clinical studies
27
     14
28        Online Reputation, https://websolutions-maine.com/online-reputation/.


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                         29
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 31 of 49




 1   have found docosanol to be ineffective at remedying cold sores and providing symptomatic and anti-
 2   viral benefits.
 3           122.      Plaintiffs and class members have been and will continue to be deceived or misled by
 4   Defendants’ false and deceptive representations.
 5           123.      Defendants’ representations and omissions were a material factor in influencing
 6   Plaintiffs’ and the class members’ decision to purchase Abreva. In fact, the only purpose for
 7   purchasing Abreva is to obtain the represented benefits.
 8           124.      Defendant’s conduct has injured Plaintiffs and class members because Abreva carries
 9   a price premium, leading consumers to pay more for the Product than they otherwise would absent
10   the representations.
11           125.      Plaintiffs and each class member were harmed by purchasing Abreva because Abreva
12   is not capable of providing their advertised benefits. As a result, Plaintiffs and each class member
13   lost money and property by way of purchasing Defendant’s ineffective topical treatment.
14                                           CLASS ALLEGATIONS
15           126.      Class Definition: Plaintiffs brings this class action on behalf of themselves, and as a
16   class action on behalf of the following putative classes (the “Class”):
17
             Nationwide Class
18           All individual residents of the United States who purchased the Product through the date of
             class certification. Excluded from the Class are: (1) Defendants and all directors, officers,
19           employees, partners, principals, shareholders and agents of Defendants; (2) Any currently
             sitting United States District Court Judge or Justice, and the current spouse and all other
20           persons within the third-degree of consanguinity to such judge/justice; and (3) Class Counsel.
21           California Sub-Class
             All individual residents of the State of California who purchased the Product through the date
22
             of class certification. Excluded from the Class are: (1) Defendants and all directors, officers,
23           employees, partners, principals, shareholders and agents of Defendants; (2) Any currently
             sitting United States District Court Judge or Justice, and the current spouse and all other
24           persons within the third-degree of consanguinity to such judge/justice; and (3) Class Counsel.
25
             127.      Plaintiffs reserve the right to amend the Class definitions if further investigation and
26
     discovery indicates that the Class definitions should be narrowed, expanded, or otherwise modified,
27
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                           30
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 32 of 49




 1   including through the use of multi-state subclasses to account for material differences in state law, if
 2   any.
 3          128.    Numerosity and Ascertainability: Plaintiffs do not know the exact number of
 4   members of the putative classes. Due to Plaintiffs’ initial investigation, however, Plaintiffs are
 5   informed and believe that the total number of Class members is at least in the tens of thousands, and
 6   that members of the Class are numerous and geographically dispersed throughout the United States
 7   and California. Plaintiffs believe that Class and California Subclass Members are so numerous that
 8   joinder of all members is impracticable. While the exact number and identities of the Class members
 9   are unknown at this time, such information can be ascertained through appropriate investigation and
10   discovery, including Defendants’ records, either manually or through computerized searches.
11          129.    Typicality and Adequacy: Plaintiffs’ claims are typical of those of the proposed Class,
12   and Plaintiffs will fairly and adequately represent and protect the interests of the proposed Class.
13   Plaintiffs do not have any interests that are antagonistic to those of the proposed Class. Plaintiffs
14   have retained counsel competent and experienced in the prosecution of this type of litigation.
15          130.    Commonality: There is a well-defined community of interest in the questions of law
16   and facts involved in this case. Questions of law and fact common to the members of the Class
17   predominate over questions that may affect individual Class Members. These include:
18                  (a) whether Defendants committed the conduct alleged herein;
19                  (b) whether Defendants’ conduct constitutes the violations of laws alleged herein;
20                  (c) whether Defendants’ labeling, sale and advertising set herein are unlawful, untrue,
21                      or are misleading, or reasonably likely to deceive;
22                  (d) whether Defendants’ conduct violates public policy;
23                  (e) whether Defendants engaged in unfair or unlawful business practices in marketing
24                      and distributing the Product;
25                  (f) whether Defendants knowingly concealed or misrepresented material facts for the
26                      purpose of inducing consumers into spending money on the Product;
27                  (g) whether Defendants’ representations, concealments and non-disclosures
28                      concerning the Product are likely to deceive the consumer;


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                         31
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 33 of 49




 1                   (h) whether Defendants’ representations, concealments and non-disclosures
 2                       concerning the Product violate the UCL and/or the common law;
 3                   (i) whether Defendants should be permanently enjoined from making the claims at
 4                       issue;
 5                   (j) whether Defendants have been unjustly enriched as a result of the unlawful
 6                       conduct alleged in this Complaint such that it would be inequitable for Defendants
 7                       to retain the benefits conferred upon Defendants by Plaintiff and the Class; and
 8                   (k) whether Plaintiffs and the Class are entitled to restitution and damages.
 9            131.   Predominance and Superiority: Common questions, some of which are set out above,
10   predominate over any questions affecting only individual Class members. A class action is the
11   superior method for the fair and just adjudication of this controversy. The expense and burden of
12   individual suits makes it impossible and impracticable for members of the proposed Class to
13   prosecute their claims individually and multiplies the burden on the judicial system presented by the
14   complex legal and factual issues of this case. Individualized litigation also presents a potential for
15   inconsistent or contradictory judgments. In contrast, the class action device presents far fewer
16   management difficulties and provides the benefits of single adjudication, economy of scale, and
17   comprehensive supervision by a single court on the issue of Defendants’ liability. Class treatment
18   of the liability issues will ensure that all claims and claimants are before this Court for consistent
19   adjudication of the liability issues.
20            132.   Manageability: The trial and litigation of Plaintiffs and the proposed Class’ claims
21   are manageable. Defendants have acted and refused to act on grounds generally applicable to the
22   Class, making appropriate final injunctive relief and declaratory relief with respect to the Class as a
23   whole.
24            133.   Notice: If necessary, notice of this action may be affected to the proposed Class
25   through publication in a manner authorized in the California Rules of Court, Civil Code, and/or the
26   Federal Rules of Civil Procedure. Also, Class members may be notified of the pendency of this
27   action by mail and/or email, through the distribution records of Defendants, third party retailers, and
28   vendors.


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        32
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 34 of 49




 1                                              FIRST CAUSE OF ACTION
 2                    VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW,
 3                                 CAL. BUS. & PROF. CODE § 17200, ET SEQ.
 4          134.    Plaintiffs incorporate by this reference the allegations contained in the preceding
 5   paragraphs as if fully set forth herein.
 6          135.    Plaintiffs bring this claim individually and on behalf of the members of the proposed
 7   California Subclass against Defendants.
 8          136.    California Business and Professions Code § 17200 prohibits any “any unlawful,
 9   unfair or fraudulent business act or practice and unfair, deceptive, untrue or misleading advertising.”
10   For the reasons discussed above, Defendants have engaged in unlawful and unfair acts in violation
11   of California Business & Professions Code §17200.
12          137.    As alleged herein, Plaintiffs have standing to pursue this claim as Plaintiffs have
13   suffered injury in fact and have lost money or property as a result of Defendants’ actions.
14   Specifically, Plaintiffs purchased the Product for her own personal use. In so doing, Plaintiffs relied
15   upon the representations referenced above.
16                                                  Unlawful
17          138.    Defendants’ conduct is unlawful, in violation of the UCL, because it violates the
18   Consumers Legal Remedies Act, the Song-Beverly Act, the California’s False Advertising Law, and
19   the Magnuson-Moss Warranty Act. Defendants’ conduct also amounts to fraud.
20                                                   Unfair
21          139.    Defendants’ conduct is unfair in violation of the UCL because it violates California
22   public policy, legislative declared in the Song-Beverly Consumer Warranty Act, requiring a
23   manufacturer to ensure that goods it places in the market are fit for their ordinary and intended
24   purpose. Defendants violated the Song-Beverly Act because Abreva is unfit for its most central
25   purpose: remedying cold sores more quickly than anything else on the market. Defendants’ conduct
26   is also unfair because it amounts to fraudulent conduct as described throughout and as described
27   further below. Moreover, Defendants’ conduct is unfair as Defendants expressly warranted that the
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        33
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 35 of 49




 1   Product was capable of doing something that it was not, causing reasonable consumers to rely on
 2   those statements to their detriment.
 3          140.    Defendants also acted in an unethical, unscrupulous, outrageous, oppressive, and
 4   substantially injurious manner. Defendants engaged in unfair business practices and acts in at least
 5   the following respects:
 6                  a.      Defendants promoted and sold Abreva with knowledge that it did not work as
 7                          warranted and advertised;
 8                  b.      Defendants promoted and sold Abreva while exceeding the scope of the FDA
 9                          approval;
10                  c.      Defendants failed to disclose that Abreva was ineffective, and represented
11                          through advertising, its website, product packaging, and the general context it
12                          created that Abreva possesses particular qualities that were inconsistent with
13                          Defendants’ actual knowledge of the product.
14                  d.      Defendants claimed that Abreva healed cold sores faster than anything else on
15                          the market, despite readily available alternatives that purport to heal cold sores
16                          faster based on scientific and medical research.
17          141.    The gravity of harm resulting from Defendants’ unfair conduct outweighs any
18   potential utility. The practice of selling cold sore remedies with unfounded and refuted claims as
19   discussed throughout—and continuing to sell Abreva without full and fair disclosure—harms the
20   public at large and is part of a common and uniform course of conduct.
21          142.    The harm from Defendants’ conduct was not reasonably avoidable by consumers.
22   Abreva does not work and despite receiving a large volume of consumer complaints, Defendants did
23   not alter their course of conduct. Instead, Defendants continued to sell Abreva at consumers’
24   expense.
25          143.    There were reasonably available alternatives that would have furthered Defendants’
26   business interests by satisfying and retaining its customers while maintaining profitability, such as:
27   (1) acknowledging that the over-the-counter remedy was not effective or not as effective as claimed;
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                          34
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 36 of 49




 1   (2) adequately disclosing this knowledge to prospective purchasers; (3) and offering refunds or a
 2   suitable replacement to affected consumers.
 3                                       Fraud by Omission
 4          144.    Defendants’ conduct is fraudulent in violation of the UCL because it is likely to
 5   deceive a reasonable consumer and:
 6                  a.     Defendants knowingly and intentionally concealed from Plaintiffs and Class
 7                         members that Abreva was not effective as they claimed;
 8                  b.     Defendants volunteered information to Plaintiffs and the Class through
 9                         advertising and other means that Abreva had qualities or characteristics that
10                         they did not have without disclosing facts that would have materially qualified
11                         those partial representations; and
12                  c.     Defendants promoted the abilities of Abreva but failed to correct its
13                         misleading partial disclosures.
14          145.    Defendants had ample means and opportunities to alert Plaintiffs and Class members
15   of the inefficacious nature of Abreva, including on Defendants’ webpages, in advertisements, and on
16   Abreva’s external packaging. Defendants uniformly failed to disclose the true nature of Abreva.
17   Had Defendant done so, Plaintiffs and Class members would not have purchased Abreva at the prices
18   they did.
19          146.    Defendants were under a duty to disclose the true nature of Abreva because of their
20   exclusive knowledge before selling Abreva, studies that have since been conducted on Abreva’s
21   primary ingredient, docosanol, complaints made directly to Abreva, as well as online complaints and
22   online reputation management, as well as a prior lawsuit alleging similar conduct. All of this would
23   have put Defendants on notice of the issues complained of here.
24          147.    Plaintiffs and Class members suffered injury in fact, including lost money or property,
25   as a result of Defendants’ unlawful, unfair, and fraudulent acts and omissions. Absent Defendants’
26   unlawful, unfair, and fraudulent conduct, Plaintiffs and Class members would not have purchased
27   Abreva, or would not have purchased Abreva at the prices they did. Nonetheless, Plaintiffs remain
28   very much interested in purchasing Abreva in the future as they believe Defendants are reputable


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       35
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 37 of 49




 1   companies that otherwise manufacture and produce over-the-counter products that are high in
 2   quality.
 3          148.    Through their unlawful, unfair, and fraudulent conduct, Defendants acquired money
 4   directly and as passed on by retailers (i.e. Amazon, CVS, Walgreens).
 5          149.    Plaintiffs and Class members accordingly seek appropriate relief, including (1)
 6   restitution under the UCL, and (2) such orders or judgments as may be necessary to enjoin
 7   Defendants from continuing their unfair, unlawful, and fraudulent practices.           Plaintiff also
 8   respectfully seek reasonable attorney’s fees and costs under applicable law, including under
 9   California Code of Civil Procedure 1021.5.
10                                         SECOND CAUSE OF ACTION
11               VIOLATION OF CALIFORNIA’S CONSUMERS LEGAL REMEDIES ACT,
12                                        CAL. CIV. CODE § 1750, ET SEQ.
13          150.    Plaintiffs incorporate by this reference the allegations contained in the preceding
14   paragraphs as if fully set forth herein.
15          151.    Plaintiffs bring this claim individually and on behalf of the members of the proposed
16   California Subclass against Defendants.
17          152.    Defendants are “person[s]” within the meaning of California Civil Code sections
18   1761(c) and 1770, and provided “goods” within the meaning of sections 1761(a) and 1770.
19          153.    Defendants’ acts and practices, as alleged in the complaint, violate California Civil
20   Code sections 1770(a)(5), (7), and (9) because they include unfair and deceptive acts and practices
21   in connection with transactions—the sale of Abreva. In violation of the CLRA, Defendants:
22                  a.      Represented that Abreva had characteristics, uses, and benefits it does not
23                          have;
24                  b.      Represented that Abreva is of a standard, quality, or grade when in fact it is
25                          not; and
26                  c.      Advertised Abreva with intent not to sell it as advertised.
27          154.    Through Avanir’s early testing, the FDA’s comments related to the limited efficacy
28   of Abreva and docosanol, studies prepared by the scientific and medical community disproving


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                      36
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 38 of 49




 1   Defendants’ claims, as well as numerous consumers who reported to Defendants directly that Abreva
 2   did not work, including the filing and ultimate settlement of a lawsuit, Defendants knew that Abreva
 3   could not heal cold sores in 2.5 days; that it could not provide antiviral and symptomatic relief; and
 4   that it did not heal cold sores faster than anything else on the market.
 5          155.    Defendants were under a duty to disclose that Abreva did not work as advertised and
 6   that it did not heal cold sores faster than anything else in the market because it had superior
 7   knowledge stemming from those categories described in the preceding paragraph as well as because
 8   it made partial, materially misleading representations about Abreva’s ability to treat cold sores.
 9          156.    Defendants had ample means and opportunities to disclose to Plaintiffs and Class
10   members that Abreva was not as efficacious as advertised, including through its advertisements, on
11   external packaging, and other such material distributed by Defendants. Despite its exclusive
12   knowledge and opportunities to disclose this knowledge, Defendants failed to disclose this
13   knowledge to Plaintiffs and Class members prior to purchase.
14          157.    Defendants’ misrepresentations and omissions were material. Had Plaintiffs and
15   Class members known that Abreva was ineffective as advertised, they would not have purchased
16   Abreva, or would not have purchased it at the price they did. Nonetheless Plaintiffs remain very
17   much interested in purchasing Abreva in the future as they believe Defendants are reputable
18   companies that otherwise manufacture and produce over-the-counter products that are high in
19   quality.
20          158.    In accordance with California Civil Code section 1782(a), Plaintiffs’ counsel sent via
21   certified mail, return receipt requested, a letter on behalf of the Class on August 9, 2021 to
22   Defendants’ principal place of business, advising Defendants’ of their violations and that it must
23   correct, replace, or otherwise rectify the goods alleged to be in violation. Defendants failed to correct
24   their business practices or provide the requested relief within 30 days. Accordingly, Plaintiffs now
25   seeks monetary damages under the CLRA.
26          159.    Plaintiffs were injured by Defendants’ CLRA violations. As a result, Plaintiffs are
27   entitled to actual damages in an amount to be proven at trial, reasonable attorney’s fees and costs,
28   declaratory relief and punitive damages.


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                          37
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 39 of 49




 1                                              THIRD CAUSE OF ACTION
 2                       VIOLATION OF CALIFORNIA’S SONG-BEVERLY CONSUMER
 3                              WARRANTY ACT, CAL. CIV. CODE § 1792, ET SEQ.
 4           160.       Plaintiffs incorporate by this reference the allegations contained in the preceding
 5   paragraphs as if fully set forth herein.
 6           161.       Plaintiffs bring this claim individually and on behalf of the members of the proposed
 7   California Subclass against Defendants.
 8           162.       Plaintiffs are “buyer[s]” within the meaning of California Civil Code § 1791(b).
 9   Plaintiffs purchased Abreva.
10           163.       Defendants are manufacturers within the meaning of California Civil Code section
11   1791(j). Defendants were responsible for producing Abreva and directed and were involved in all
12   stages of the production and manufacturing process.
13           164.       Abreva is a “consumer good[]” within the meaning of California Civil Code §
14   1791(a).
15           165.       Defendants impliedly warranted to Plaintiffs that Abreva was “merchantable” under
16   California Civil sections 1791.1 and 1792.
17           166.       Defendants breached the implied warranty of merchantability by producing,
18   manufacturing, and selling Abreva that were not of merchantable quality. As described throughout
19   despite Defendants’ representations, Abreva does not work as advertised. Therefore, it is unfit for
20   the ordinary purpose for which it is used and would not pass without objection in the trade.
21           167.       As a direct and proximate cause of Defendant’s breach of the Song-Beverly
22   Consumer Warranty Act, Plaintiffs and Class members have been damaged in an amount to be
23   proven at trial.
24           168.       Plaintiffs seek costs and expenses, including reasonable attorney’s fees, under
25   California Civil Code section 1794.
26
27
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                         38
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 40 of 49




 1                                          FOURTH CAUSE OF ACTION
 2                     VIOLATION OF CALIFORNIA’S FALSE ADVERTISING LAW,
 3                                 CAL. BUS. & PROF. CODE § 17500, ET SEQ.
 4           169.    Plaintiffs incorporate by this reference the allegations contained in the preceding
 5   paragraphs as if fully set forth herein.
 6           170.    Plaintiffs bring this claim individually and on behalf of the members of the proposed
 7   California Subclass against Defendants.
 8           171.    Defendants’ acts and practices, as described herein, have deceived and/or are likely
 9   to continue to deceive class members and the public. As described above, and throughout this
10   Complaint, Defendants misrepresented Abreva qualities, characteristics, and abilities and concealed
11   knowledge that Abreva did not have those qualities, characteristics, and abilities.
12           172.    By its actions, Defendants disseminated uniform advertising regarding Abreva into
13   California. The advertising was, by its very nature, unfair, deceptive, untrue, and misleading within
14   the meaning of Cal. Bus. & Prof. Code § 17500, et seq. Such advertisements were intended to and
15   likely did deceive the consuming public for the reasons detailed herein.
16           173.    The above-described false, misleading, and deceptive advertising Defendants
17   disseminated continues to have a likelihood to deceive and in that Defendants failed to disclose the
18   true qualities, characteristics, and abilities of Abreva.
19           174.    Defendants continued to misrepresent to consumers that Abreva could heal cold sores
20   in 2.5 days, could provide symptomatic and anti-viral benefits, and healed cold sores faster than
21   anything else in the market, when, in fact, that was not the case as described throughout this
22   Complaint.
23           175.    In making and disseminating the statements alleged herein, Defendants knew, or
24   should have known, its advertisements were untrue and misleading in violation of California law.
25   Plaintiffs and Class members based their purchasing decisions on Defendants’ omitted material facts.
26   The revenue attributable to Abreva through Defendants’ false and misleading advertisements likely
27   amounts to hundreds of millions of dollars. Plaintiffs and class members were injured in fact and
28   lost money and property as a result.


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                      39
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 41 of 49




 1          176.    The misrepresentation and non-disclosures by Defendants of the material facts
 2   described and details herein constitute false and misleading advertisements and, therefore, constitute
 3   violations of Cal. Bus. & Prof. Code § 17500, et seq.
 4          177.    As a result of Defendants’ wrongful conduct, Plaintiffs and the class members lost
 5   money in an amount to be proven at trial. Plaintiffs and the Class members are therefore entitled to
 6   restitution as appropriate for this cause of action.
 7          178.    Plaintiffs and Class members seek all monetary and non-monetary relief allowed by
 8   law, including restitution of all profits stemming from Defendant’s unfair, unlawful, and fraudulent
 9   business practices; declaratory relief; reasonable attorney’s fees and costs under California Code of
10   Civil Procedure § 1021.5; injunctive relief; and other appropriate equitable relief.
11                                              FIFTH CAUSE OF ACTION
12                                     BREACH OF EXPRESS WARRANTY
13          179.    Plaintiffs incorporate by this reference the allegations contained in the preceding
14   paragraphs as if fully set forth herein.
15          180.    Plaintiffs bring this claim individually and on behalf of the members of the Class and
16   the proposed California Subclass against Defendants.
17          181.    Defendants are and were at all times merchants with respect to OTC products, namely
18   Abreva.
19          182.    In its advertisements, brochures, packaging, and on its website, Defendants expressly
20   warranted that Abreva could heal cold sores in 2 ½ days; that it could provide symptomatic and anti-
21   viral benefits; and that it can heal cold sores faster than any other product on the market. These
22   representations formed part of the basis of the bargain that was reached when Plaintiffs and Class
23   members purchased Abreva.
24          183.    Defendants breached these express warranties by entering into the stream of
25   commerce and selling to consumers a product, namely Abreva, that does not have these benefits.
26   That is, Abreva does not and cannot heal cold sores in 2 ½ days, fails to provide symptomatic and
27   anti-viral benefits, and does not heal cold sores faster available alternatives on the market.
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       40
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 42 of 49




 1          184.    As a direct and proximate cause of Defendants’ breach of express warranty, Plaintiffs
 2   and the Class have been injured and harmed because: (a) they would not have purchased Abreva on
 3   the same terms if they knew that Defendants’ claims were not true; (b) they paid a price premium for
 4   Abreva due to the claims; and (c) Abreva does not have the characteristics, uses, benefits, or qualities
 5   promises in that Abreva does not heal cold sores in 2 ½ days, does not provide symptomatic or anti-
 6   viral benefits, and does not heal cold sores faster than anything else on the market.
 7          185.    On or about August 9, 2021, prior to filing this action, Plaintiffs’ counsel sent a pre-
 8   suit notice via certified mail, return receipt requested, to Defendants at their principal places of
 9   business. This letter was served on Defendants and complies in all respects with U.C.C. § 2-607.
10   Defendants have refused to remedy this breach. This Complaint follows.
11                                              SIXTH CAUSE OF ACTION
12                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
13          186.    Plaintiffs incorporate by this reference the allegations contained in the preceding
14   paragraphs as if fully set forth herein.
15          187.    Plaintiffs bring this claim individually and on behalf of the members of the Class and
16   the proposed California Subclass against Defendants.
17          188.    Defendants, as the designer, manufacturer, marketer, distributor, and/or seller, affixed
18   2 ½ day healing claims to Abreva’s advertising and marketing, including on its website and in
19   commercials, as impliedly warranting that Abreva heals cold sores in that time and has symptomatic
20   and anti-viral benefits and that it is the fastest on the market in healing cold sores.
21          189.    As alleged in detail above, at the time of purchase, Defendant had reason to know that
22   Plaintiffs, as well as Class members, intended to use Abreva to heal their cold sores as quickly as
23   possible and for its purported symptomatic and anti-viral properties.
24          190.    This became part of the basis of the bargain between the parties.
25          191.    Based on that implied warranty, Defendants sold the goods to Plaintiff and other Class
26   members who bought the goods from Defendants.
27          192.    At the time of purchase, Defendant knew or had reason to know that Plaintiff and
28   Class members were relying on Defendants’ skill and judgment to select or furnish a product that


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                         41
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 43 of 49




 1   was suitable for this particular purpose, and Plaintiffs and the Class justifiably relied on Defendants’
 2   skill and judgment.
 3           193.   Abreva was not suitable for this purpose.
 4           194.   Plaintiffs purchased Abreva believing they had the qualities Plaintiffs sought, based
 5   on the deceptive advertising and labeling, but Abreva was unsatisfactory for the reasons described
 6   here.
 7           195.   Abreva was not merchantable in California, as it was not of the same quality as other
 8   products in the category generally acceptable in the trade.
 9           196.   Abreva was also unmerchantable and breached the implied warranty because they did
10   not conform to the promises or affirmations of fact made on the container or label and on other
11   grounds as set forth in Commercial Code 2314(2).
12           197.   As a result of this breach, Plaintiffs and the Class did not receive goods as impliedly
13   warranted by Defendants.
14           198.   Within a reasonable amount of time after Plaintiffs discovered the breach, Plaintiffs
15   notified Defendants of such breach.
16           199.   As a proximate result of this breach of warranty, Plaintiffs and Class members have
17   been damaged in an amount to be determined at trial.
18           200.   As Plaintiffs remain very much interested in purchasing from Defendants in the future
19   as described above, Plaintiffs and the Class are entitled to injunctive and equitable relied, restitution,
20   and an order for the disgorgement of funds by which Defendants were unjustly enriched.
21                                         SEVENTH CAUSE OF ACTION
22                                   FRAUDULENT MISREPRESENTATION
23           201.   Plaintiffs incorporate by this reference the allegations contained in the preceding
24   paragraphs as if fully set forth herein.
25           202.   Plaintiffs bring this claim individually and on behalf of the members of the Class and
26   the proposed California Subclass against Defendants.
27           203.   At all times relevant, Defendants were engaged in the business of designing,
28   manufacturing, distributing, marketing, and selling Abreva.


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                           42
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 44 of 49




 1           204.    Defendants, acting through its representatives or agents, delivered Abreva to its own
 2   distributors and various other distribution channels.
 3           205.    Defendants willfully, falsely, and knowingly omitted various material facts regarding
 4   the quality and character of Abreva as discussed throughout.
 5           206.    Rather than inform consumers of the truth regarding Abreva, Defendants
 6   misrepresented the quality, including its 2 ½ days healing claims, its symptomatic and anti-viral
 7   claims, as well as its healing speed claims, including at the time of purchase.
 8           207.    Defendants made these material misrepresentations to boost or maintain sales of
 9   Abreva, and in order to falsely assure purchasers of Abreva that Defendants are reputable companies
10   and that Abreva could perform as promised. The false representations were material to consumers
11   because the representations played a significant role in the value of Abreva as purchased.
12           208.     Although Defendants had a duty to ensure the accuracy of the information regarding
13   the 2 ½ healing claims, its symptomatic and anti-viral claims, and its speed claims, and it did not
14   fulfill these duties.
15           209.    Defendants misrepresented material facts partly to pad and protect their profits, as it
16   saw that profits and sales of Abreva were essential for their continued growth and to maintain and
17   grow their reputation as a premier make of over-the-counter products. Such benefits came at the
18   expense of Plaintiffs and Class members.
19           210.    Plaintiffs and Class members were unaware of these material misrepresentations, and
20   they would not have acted as they did had they known the truth. Plaintiffs’ and Class members’
21   actions were justified given Defendants’ misrepresentations. Defendants were in the exclusive
22   control of material facts, and such facts were not known to the public.
23           211.    Due to Defendants’ misrepresentations, Plaintiffs and Class members sustained injury
24   due to the purchase of Abreva that did not live up to their advertised representations. Plaintiffs and
25   Class members are entitled to recover full or partial refunds for Abreva due to Defendant’s
26   misrepresentations, or they are entitled to damages for the diminished value of the Product in an
27   amount to be determined at trial.
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        43
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 45 of 49




 1          212.    Defendant’s acts were done maliciously, oppressively, deliberately, and with intent
 2   to defraud, and in reckless disregard of Plaintiffs’ and Class members’ rights and well-being, and in
 3   part to enrich itself at the expense of consumers. Defendants’ acts were done to gain commercial
 4   advantage over competitors, and to drive consumers away from considerations of competitors’
 5   products. Defendants’ conduct warrants an assessment of punitive damages in an amount sufficient
 6   to deter such conduct in the future.
 7                                          EIGHTH CAUSE OF ACTION
 8                                    NEGLIGENT MISREPRESENTATION
 9          213.    Plaintiffs incorporate by this reference the allegations contained in the preceding
10   paragraphs as if fully set forth herein.
11          214.    Plaintiffs bring this claim individually and on behalf of the members of the Class and
12   the proposed California Subclass against Defendants.
13          215.    Defendants negligently and recklessly omitted certain material facts regarding
14   Abreva. Defendants failed to warn consumers that Abreva did not perform as warranted or
15   advertised.
16          216.    The advertisements and warranties, which were made expressly through uniform
17   representations from Defendants were material and would have been considered by a reasonable
18   consumer, including Plaintiffs and Class members, in making purchasing decisions.
19          217.    Plaintiffs and Class members acquired Abreva believing it would function as
20   advertised.
21          218.    As a result, Plaintiffs and Class members were directly and proximately injured by
22   Defendants’ negligence in failing to inform Plaintiffs and Class members of Abreva’s true nature,
23   namely that it cannot not heal cold sores in 2 ½ days, does not have symptomatic or anti-viral
24   properties, and does not heal cold sores faster than other readily available alternatives. Accordingly,
25   Plaintiffs and Class members are entitled to damages in an amount to be proven at trial.
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        44
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 46 of 49




 1                                              NINTH CAUSE OF ACTION
 2                                               FRAUD BY OMISSION
 3          219.      Plaintiffs incorporate by this reference the allegations contained in the preceding
 4   paragraphs as if fully set forth herein.
 5          220.      Plaintiffs bring this claim for fraud by omission pursuant to California Civil Code §§
 6   1709-1710, et seq., individually and on behalf the California Subclass and the Class given the
 7   substantial similarities between states.
 8          221.      Defendants actively concealed material facts, in whole or in part, with the intent to
 9   induce Plaintiff and members of the Class to purchase Abreva. Specifically, Defendant actively
10   concealed the truth about Abreva by not disclosing that it cannot heal cold sores in 2 ½ days; that it
11   does not have symptomatic and anti-viral properties; and that it does not heal cold sores faster than
12   readily available alternatives.
13          222.      Plaintiffs and Class members were unaware of these omitted material facts and would
14   not have purchased Abreva, or would have paid less, if they had known of these concealed and
15   omitted facts.
16          223.      Plaintiffs and the Class suffered injuries that were proximately caused by Defendant’s
17   active concealment and omissions of material facts.
18          224.      Defendants’ fraudulent concealments and omissions were a substantial factor in
19   causing the harm suffered by Plaintiff and Class members as they would not have purchased Abreva
20   if all material facts were properly disclosed.
21                                          TENTH CAUSE OF ACTION
22                                               UNJUST ENRICHMENT
23          225.      Plaintiffs incorporate by this reference the allegations contained in the preceding
24   paragraphs as if fully set forth herein.
25          226.      Plaintiffs bring this claim individually and on behalf of the members of the Class and
26   the proposed California Subclass against Defendants.
27          227.      As a result of Defendants’ unlawful and misleading labeling, marketing, and sale of
28   Abreva, Defendants were enriched at the expense of Plaintiffs and the Class.


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                        45
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 47 of 49




 1          228.    Defendants sold products that did not perform as advertised and were worthless.
 2          229.    Plaintiffs paid a premium price for Abreva.
 3          230.    Thus, it is against equity and good conscience to permit Defendants to retain the ill-
 4   gotten benefits received from Plaintiffs and the Class members given that Abreva was not what
 5   Defendants purported them to be.
 6          231.    It would be unjust and inequitable for Defendants to retain the benefit, warranting
 7   restitutionary disgorgement to Plaintiff and Class members of all monies paid for Abreva, and/or all
 8   monies paid for which Plaintiffs and Class members did not receive the benefit.
 9          232.    As a direct and proximate result of Defendants’ actions, Plaintiffs and Class members
10   have suffered in an amount to be proven at trial.
11                                        PRAYER FOR RELIEF
12
            WHEREFORE, Plaintiffs, on behalf of themselves and as representative of all other persons
13
     similarly situated, pray for judgment against Defendants, as follows:
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            1. An order certifying the nationwide Class and California Subclass under Rule 23 of the
15
16              Federal Rules of Civil Procedure and naming Plaintiffs as representative of the Class

17              and California Subclass and Plaintiffs’ attorneys as Class Counsel to represent the Class

18              and California Subclass Members;
19          2. An order declaring that Defendants’ conduct violates the statutes referenced herein;
20
            3. An order permanently enjoining Defendants from pursuing the policies, acts, and
21
                practices complained of herein;
22
            4. An order finding in favor of Plaintiffs, the Class, and the California Subclass on all
23

24              counts asserted herein;

25          5. For compensatory and punitive damages in amounts to be determined by the Court
26              and/or jury;
27
            6. For pre-judgment interest on all amounts awarded;
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       46
        Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 48 of 49




 1          7. For an order of restitution, disgorgement, and all other forms of monetary relief;
 2          8. For an order awarding Plaintiffs and the Class and California Subclass their reasonable
 3
                attorneys’ fees and expenses and costs of suit; and,
 4
            9. Such other and further relief as the Court may deem necessary and appropriate.
 5
 6                                       JURY TRIAL DEMANDED
 7          Plaintiffs demand a trial by jury on all claims so triable.
 8
 9
10   Dated: February 25, 2022                        BURSOR & FISHER, P.A.

11                                                   By:     /s/ L. Timothy Fisher
                                                                 L. Timothy Fisher
12
                                                     L. Timothy Fisher (State Bar No. 191626)
13                                                   Sean L. Litteral (State Bar No. 331985)
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                    47
          Case 4:21-cv-09390-JST Document 25 Filed 02/25/22 Page 49 of 49




 1            CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)
 2   I, L. Timothy Fisher, declare as follows:
 3   1.      I am an attorney at law licensed to practice in the State of California and a member of the bar
 4   of this Court. I am a Partner at Bursor & Fisher, P.A., counsel of record for Plaintiffs in this action.
 5   Plaintiff Jasmine Smith make her purchase while residing in Oakland, California. Plaintiff Tawneya
 6   Houser made her purchase while residing in Hayward, California. I have personal knowledge of the
 7   facts set forth in this declaration and, if called as a witness, I could and would competently testify
 8   thereto under oath.
 9   2.      The Complaint filed in this action is filed in the proper place for trial under Civil Code Section
10   1780(d) in that a substantial portion of the events alleged in the Complaint occurred in the Northern
11   District of California. Specifically, Defendants availed themselves of this forum and venue through
12   its marketing efforts, including but not limited to commercials aired in this District, flyers and
13   bulletins distributed in this District, and, most importantly, sold Abreva in this District.
14   I declare under the penalty of perjury under the laws of the State of California and the United States
15   that the foregoing is true and correct and that this declaration was executed at Walnut Creek,
16   California, this 25th day of February, 2022.
17                                                              /s/ L. Timothy Fisher
                                                                   L. Timothy Fisher
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                           48
